              Case 2:13-cv-00193 Document 738-9 Filed on 11/17/14 in TXSD Page 1 of 1

,_k'       Texas                              Politics
           Voter                       Identification       (February    2011)



           Voter ID                           Breakdown             Breakdown
         Preferences                          by Party ID            by Race
                                                             11
                                                              la,


       Do you agree or disagree that registered voters should be required to present a government-issued photo ID before
       they can be allowed to vote? (February 2011)

         100


                                        80%
          80

                                                      68%

   CTl
  rO



  OI
  u
         40
  Q_

                                                                                   28%




                                                                                  I
                                                                                             22%
         20
                                                                            12%                                              11%
                                                                                                           8%      9%


                                              Agree                               Disagree                      Don't know

                                                                                             White   African American              Latino


                                                                                                                                        D




2:13-cv-193
                  exhibitsticker.com




09/02/2014

DEF0266
